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 Attorneys for Plaintiff


                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

                                                )
                                                )
 IN RE MULTIPLE SEALED SEARCH                   )
 WARRANTS,                                      )
                                                )
                                                )
                                                )

            OMNIBUS MOTION TO UNSEAL SEARCH WARRANTS

       COMES NOW the United States of America by and through undersigned Assistant

U.S. Attorney and hereby requests the follow search warrant cases be unsealed. The

government no longer has a basis for these search warrant applications, affidavits or returns

to remain sealed.

       3:18-mj-00322-KFR *SEALED*-1

       3:19-mj-00015-KFR *SEALED*-1

       3:19-mj-00016-KFR *SEALED*-1

       3:19-mj-00120-KFR *SEALED*-1




         Case 3:22-mj-00451-KFR Document 7 Filed 03/07/24 Page 1 of 9
3:19-mj-00474-KFR *SEALED*-1

3:19-mj-00475-KFR *SEALED*-1

3:19-mj-00493-KFR *SEALED*-1

3:19-mj-00624-KFR *SEALED*-1

3:19-mj-00625-KFR *SEALED*-1

3:20-mj-00314-KFR *SEALED*-1

3:20-mj-00346-KFR *SEALED*-1

3:20-mj-00470-KFR *SEALED*-1

3:20-mj-00471-KFR *SEALED*-1

3:21-mj-00011-KFR *SEALED*-1

3:21-mj-00069-KFR *SEALED*-1

3:21-mj-00152-KFR *SEALED*-1

3:21-mj-00605-KFR *SEALED*-1

3:21-mj-00618-KFR *SEALED*-1

3:21-mj-00619-KFR *SEALED*-1

3:21-mj-00625-KFR *SEALED*-1

3:21-mj-00626-KFR *SEALED*-1

3:21-mj-00630-KFR *SEALED*-1

3:21-mj-00631-KFR *SEALED*-1

3:21-mj-00650-KFR *SEALED*-1

3:21-mj-00654-KFR *SEALED*-1

3:22-mj-00001-KFR *SEALED*-1

3:22-mj-00003-KFR *SEALED*-1




                           Page 2 of 9
  Case 3:22-mj-00451-KFR Document 7 Filed 03/07/24 Page 2 of 9
3:22-mj-00004-KFR *SEALED*-1

3:22-mj-00008-KFR *SEALED*-1

3:22-mj-00011-KFR *SEALED*-1

3:22-mj-00018-KFR *SEALED*-1

3:22-mj-00019-KFR *SEALED*-1

3:22-mj-00022-KFR *SEALED*-1

3:22-mj-00036-KFR *SEALED*-1

3:22-mj-00037-KFR *SEALED*-1

3:22-mj-00038-KFR *SEALED*-1

3:22-mj-00039-KFR *SEALED*-1

3:22-mj-00044-KFR *SEALED*-1

3:22-mj-00049-KFR *SEALED*-1

3:22-mj-00052-KFR *SEALED*-1

3:22-mj-00062-KFR *SEALED*-1

3:22-mj-00064-KFR *SEALED*-1

3:22-mj-00065-KFR *SEALED*-1

3:22-mj-00071-KFR *SEALED*-1

3:22-mj-00075-KFR *SEALED*-1

3:22-mj-00079-KFR *SEALED*-1

3:22-mj-00091-KFR *SEALED*-1

3:22-mj-00094-KFR *SEALED*-1

3:22-mj-00098-KFR *SEALED*-1

3:22-mj-00099-KFR *SEALED*-1




                           Page 3 of 9
  Case 3:22-mj-00451-KFR Document 7 Filed 03/07/24 Page 3 of 9
3:22-mj-00103-KFR *SEALED*-1

3:22-mj-00104-KFR *SEALED*-1

3:22-mj-00109-KFR *SEALED*-1

3:22-mj-00111-KFR *SEALED*-1

3:22-mj-00112-KFR *SEALED*-1

3:22-mj-00126-KFR *SEALED*-1

3:22-mj-00128-KFR *SEALED*-1

3:22-mj-00129-KFR *SEALED*-1

3:22-mj-00130-KFR *SEALED*-1

3:22-mj-00131-KFR *SEALED*-1

3:22-mj-00133-KFR *SEALED*-1

3:22-mj-00139-KFR *SEALED*-1

3:22-mj-00142-KFR *SEALED*-1

3:22-mj-00145-KFR *SEALED*-1

3:22-mj-00149-KFR *SEALED*-1

3:22-mj-00150-KFR *SEALED*-1

3:22-mj-00157-KFR *SEALED*-1

3:22-mj-00159-KFR *SEALED*-1

3:22-mj-00163-KFR *SEALED*-1

3:22-mj-00168-KFR *SEALED*-1

3:22-mj-00171-KFR *SEALED*-1

3:22-mj-00182-KFR *SEALED*-1

3:22-mj-00192-KFR *SEALED*-1




                           Page 4 of 9
  Case 3:22-mj-00451-KFR Document 7 Filed 03/07/24 Page 4 of 9
3:22-mj-00194-KFR *SEALED*-1

3:22-mj-00204-KFR *SEALED*-1

3:22-mj-00205-KFR *SEALED*-1

3:22-mj-00206-KFR *SEALED*-1

3:22-mj-00212-KFR *SEALED*-1

3:22-mj-00213-KFR *SEALED*-1

3:22-mj-00214-KFR *SEALED*-1

3:22-mj-00220-KFR *SEALED*-1

3:22-mj-00221-KFR *SEALED*-1

3:22-mj-00222-KFR *SEALED*-1

3:22-mj-00223-KFR *SEALED*-1

3:22-mj-00230-KFR *SEALED*-1

3:22-mj-00232-KFR *SEALED*-1

3:22-mj-00233-KFR *SEALED*-1

3:22-mj-00238-KFR *SEALED*-1

3:22-mj-00249-KFR *SEALED*-1

3:22-mj-00251-KFR *SEALED*-1

3:22-mj-00252-KFR *SEALED*-1

3:22-mj-00253-KFR *SEALED*-1

3:22-mj-00256-KFR *SEALED*-1

3:22-mj-00257-KFR *SEALED*-1

3:22-mj-00262-KFR *SEALED*-1

3:22-mj-00263-KFR *SEALED*-1




                           Page 5 of 9
  Case 3:22-mj-00451-KFR Document 7 Filed 03/07/24 Page 5 of 9
3:22-mj-00264-KFR *SEALED*-1

3:22-mj-00275-KFR *SEALED*-1

3:22-mj-00276-KFR *SEALED*-1

3:22-mj-00277-KFR *SEALED*-1

3:22-mj-00280-KFR *SEALED*-1

3:22-mj-00285-KFR *SEALED*-1

3:22-mj-00294-KFR *SEALED*-1

3:22-mj-00308-KFR *SEALED*-1

3:22-mj-00309-KFR *SEALED*-1

3:22-mj-00312-KFR *SEALED*-1

3:22-mj-00314-KFR *SEALED*-1

3:22-mj-00315-KFR *SEALED*-1

3:22-mj-00323-KFR *SEALED*-1

3:22-mj-00324-KFR *SEALED*-1

3:22-mj-00326-KFR *SEALED*-1

3:22-mj-00327-KFR *SEALED*-1

3:22-mj-00328-KFR *SEALED*-1

3:22-mj-00329-KFR *SEALED*-1

3:22-mj-00330-KFR *SEALED*-1

3:22-mj-00334-KFR *SEALED*-1

3:22-mj-00336-KFR *SEALED*-1

3:22-mj-00337-KFR *SEALED*-1

3:22-mj-00344-KFR *SEALED*-1




                           Page 6 of 9
  Case 3:22-mj-00451-KFR Document 7 Filed 03/07/24 Page 6 of 9
3:22-mj-00357-KFR *SEALED*-1

3:22-mj-00358-KFR *SEALED*-1

3:22-mj-00370-KFR *SEALED*-1

3:22-mj-00375-KFR *SEALED*-1

3:22-mj-00379-KFR *SEALED*-1

3:22-mj-00380-KFR *SEALED*-1

3:22-mj-00385-KFR *SEALED*-1

3:22-mj-00386-KFR *SEALED*-1

3:22-mj-00387-KFR *SEALED*-1

3:22-mj-00397-KFR *SEALED*-1

3:22-mj-00400-KFR *SEALED*-1

3:22-mj-00404-KFR *SEALED*-1

3:22-mj-00406-KFR *SEALED*-1

3:22-mj-00426-KFR *SEALED*-1

3:22-mj-00435-KFR *SEALED*-1

3:22-mj-00436-KFR *SEALED*-1

3:22-mj-00438-KFR *SEALED*-1

3:22-mj-00439-KFR *SEALED*-1

3:22-mj-00442-KFR *SEALED*-1

3:22-mj-00443-KFR *SEALED*-1

3:22-mj-00448-KFR *SEALED*-1

3:22-mj-00451-KFR *SEALED*-1

3:22-mj-00452-KFR *SEALED*-1




                           Page 7 of 9
  Case 3:22-mj-00451-KFR Document 7 Filed 03/07/24 Page 7 of 9
3:22-mj-00455-KFR *SEALED*-1

3:22-mj-00458-KFR *SEALED*-1

3:22-mj-00459-KFR *SEALED*-1

3:22-mj-00461-KFR *SEALED*-1

3:22-mj-00462-KFR *SEALED*-1

3:22-mj-00471-KFR *SEALED*-1

3:22-mj-00472-KFR *SEALED*-1

3:22-mj-00473-KFR *SEALED*-1

3:22-mj-00478-KFR *SEALED*-1

3:22-mj-00483-KFR *SEALED*-1

3:22-mj-00488-KFR *SEALED*-1

3:22-mj-00489-KFR *SEALED*-1

3:22-mj-00496-KFR *SEALED*-1

3:22-mj-00498-KFR *SEALED*-1

3:22-mj-00499-KFR *SEALED*-1

3:22-mj-00504-KFR *SEALED*-1

3:22-mj-00507-KFR *SEALED*-1

3:22-mj-00512-KFR *SEALED*-1

3:22-mj-00513-KFR *SEALED*-1

3:22-mj-00523-KFR *SEALED*-1

3:22-mj-00538-KFR *SEALED*-1

3:22-mj-00550-KFR *SEALED*-1

3:22-mj-00564-KFR *SEALED*-1




                           Page 8 of 9
  Case 3:22-mj-00451-KFR Document 7 Filed 03/07/24 Page 8 of 9
3:23-mj-00003-KFR *SEALED*-1

3:23-mj-00004-KFR *SEALED*-1

3:23-mj-00011-KFR *SEALED*-1

3:23-mj-00019-KFR *SEALED*-1

3:23-mj-00020-KFR *SEALED*-1

3:23-mj-00021-KFR *SEALED*-1

3:23-mj-00023-KFR *SEALED*-1

3:23-mj-00031-KFR *SEALED*-1



RESPECTFULLY SUBMITTED March 7, 2024, at Anchorage, Alaska.

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                               United States Attorney

                               s/ Christina M. Sherman
                               CHRISTINA M. SHERMAN
                               Assistant United States Attorney
                               United States of America




                           Page 9 of 9
  Case 3:22-mj-00451-KFR Document 7 Filed 03/07/24 Page 9 of 9
